                   UNITED  STATES Document:
                   Case: 25-1572  COURT OF40APPEALS
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                                                                    04/23/2025

                                                 No. 25-1572

                       Atlas Data Privacy Corporation, et al. vs. Restoration of America, et al.


                                             ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Restoration of America, Inc., Voter Reference Foundation LLC
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)            ____ Appellant(s)                  ____ Intervenor(s)

         ____ Respondent(s)            ____ Appellee(s)                   ____ Amicus Curiae

(Type or Print) Counsel’s Name John   E. MacDonald
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SIGNATURE OF COUNSEL: /s/ John E. MacDonald

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
